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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:                                                                       CHAPTER 11

 Wireless Systems Solutions LLC,                               CASE NO. 22-00513-5-JNC

                 Debtor.

                   APPLICATION FOR APPROVAL OF COMPENSATION
                          AND EMPLOYMENT OF INSIDERS

          Pursuant to the provisions of Chapter 11 of the Bankruptcy Code, and Local Bankruptcy

 Rule No. 4002-1(d)(1), Wireless Systems Solutions, LLC, Debtor in the above-referenced case,

 by and through counsel, hereby makes this application for approval of compensation and

 employment of insiders Laslo Gross and Susan Gross; and in support thereof, shows unto the Court

 as follows:

          1.     WSS is a North Carolina Limited Liability Company formed in 2015 with a

 principal offices and assets in Cary, North Carolina and Morrisville, North Carolina. WSS has ten

 employees, all located in North Carolina.

          2.     WSS is a designer and developer of multi-standard, frequency band agnostic,

 cellular network solutions that leverage its expertise in cellular and wireless communications

 technology at large. WSS is able to offer a portfolio of products and platforms suitable for multiple

 markets including defense, first-responders, utilities, telcos, and general network infrastructure

 solutions. Each WSS product is designed for multi-mode flexibility and efficiency (size,

 scalability, functionality, ease of integration & deployment).

          3.     WSS is working with the Rural Broadband Initiative and the State of North Carolina

 to provide connectivity (i.e., internet services) to underserved areas and populations that do not

 have access to the internet at all or at affordable rates.


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        4.      Laslo Gross and WSS have been asked to participate in the Dept. of Agriculture

 and FCC’s taskforce on Precision Agriculture.

        5.      WSS owes approximately $2 Million to the U.S. Small Business Administration

 (the “SBA.”) The SBA holds a first lien on all of the WSS’ tangible and intangible assets. WSS

 believes that the lien of the SBA was properly perfected with the filing of a financing statement

 on August 10, 2020. CIT Bank holds a second position lien on certain collateral, but the Debtor

 believes that most or all of that collateral has been destroyed pursuant to a court order.

        6.      Between 2017 and 2020, WSS entered into a series of agreements with Smartsky

 Networks, LLC (“Smartsky.”) A dispute arose between WSS and Smartsky (along with other

 parties) and an arbitration award was entered against WSS and other parties on October 1, 2021.

        7.      Smartsky sought to confirm the arbitration award in the United States District Court

 for the Middle District of North Carolina. WSS opposed that confirmation, but the award was

 confirmed on February 7, 2022, and a judgment was entered the same day (the “Judgment.”) WSS

 Filed a notice of appeal of the Judgment on March 7, 2022.

        8.      In addition to a monetary award in excess of $12 Million, the Judgment contained

 an injunction. WSS has complied, and will continue to comply, with the injunction so long as it

 remains in effect. WSS is able to operate profitably while complying with the injunction and

 anticipates filing a plan of reorganization which provides for, but does not rely, on relief from the

 injunction.

        9.      WSS filed a voluntary petition under Chapter 11 on March 9, 2022. The goal of

 this Chapter 11 is to preserve the value of WSS and restructure the debts of WSS, including the

 Judgment, so that WSS may pay, over time, as much as practicable to its secured and unsecured

 creditors. WSS believes that reorganization is a vastly superior alternative to liquidation, and that



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 in a liquidation, unsecured creditors would receive little, if any, return. Debtor’s business requires

 the services of the following individuals: Laslo Gross and Susan Gross.

        10.     Laslo Gross is responsible for the following duties: establishment and management

 of strategic relationships with outside partners, vendors, customers; strategic direction of the

 business, including but not limited to product marketing and business development, system and

 architectural design, product definition, product implementation; direction of the engineering staff

 in implementation of the above for successful product development; and, review to ensure product

 implementation goals are achieved.

        11.     Susan Gross is responsible for the following duties: management of administrative

 activities including, but not limited to financial administration working with financial

 institutions/vendors relating to general business matters, lines of credit as well as liaising with

 outside accountants; working with outside counsel with respect to contracts and other legal

 matters; management of administrative staff relating to procurement and purchasing for

 production, shipping and delivery of products, and human resources.

        12.     Prior to the filing of the bankruptcy, Mr. Gross received a monthly gross salary of

 $8,000.00. In addition, the Debtor makes payments for Mr. Gross’s cell phone. In 2021, Mr.

 Gross’s gross compensation $84,039.35.

        13.     Prior to the filing of the bankruptcy, Ms. Gross did not receive a monthly salary.

 The Debtor has regularly reimbursed Ms. Gross for expenses charged to her credit card in the

 amount of approximately $375.00 per month and paid for Ms. Gross’s cell phone. Those

 reimbursed expenses include licensing fees for software Debtor needs for operation. In 2021, Ms.

 Gross received reimbursements for $3,844.31 in expenses expended on behalf of the Debtor.




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        14.     The employment of Mr. Gross and Ms. Gross is necessary to the successful

 reorganization of the Debtor.

        15.     Debtor requests that, during the case, Mr. Gross receive a monthly gross salary of

 $8,000 per month, and payment of Mr. Gross’s cellular telephone bill

        16.     Debtor further requests that, during the case, Ms. Gross receive a monthly gross

 salary of $5,000, and that the Debtor continue to reimburse necessary business expenses and pay

 for Ms. Gross’s cellular telephone.

        WHEREFORE, Debtor prays that it be authorized to employ and compensate Mr. Gross

 and Ms. Gross on the basis set out herein, and that it have such other and further relief as is just.


        This the 10th day of March, 2022.

                                                STEVENS MARTIN VAUGHN & TADYCH, PLLC

                                                s/ Kathleen O’Malley
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                                CERTIFICATE OF SERVICE

         The undersigned does hereby certify that copies of the foregoing APPLICATION FOR
 APPROVAL OF COMPENSATION AND EMPLOYMENT OF OFFICERS and NOTICE
 thereof have been served upon each of the parties listed below via First-Class U.S. Mail, or
 electronically as indicated below:

  Wireless Systems Solutions LLC (Via               Kirstin Gardner (Via Email)
  CM/ECF)                                           Bankruptcy Administrator, EDNC
  ATTN: Susan Gross                                 434 Fayetteville Street, Suite 640
  102 Ripplewater Lane                              Raleigh, NC 27601
  Cary, NC 27518                                    Email: Kirstin_gardner@nceba.uscourts.gov


 All other parties registered to receive electronic service through the CM/ECF system.

        This the 10th day of March, 2022.

                                             STEVENS MARTIN VAUGHN & TADYCH, PLLC

                                             s/ Kathleen O’Malley
                                             Kathleen O’Malley
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